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TANIKA BEAULIEU,
      Plaintiff,                                       No. 17-cv-05672


                                                      Honorable Rebecca R. Pallmeyer

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NEWQUEST MANAGEMENT                    OF     I


ILLINOIS,   LLC.,                             I
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              Defendant.                                                               r.O
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      COMES NOW, pro se Plaintiff and submits its Opposition to Motion for Summary
      Judgment, in accordance with Fed.R.Civ.P. 56



FACTUAL BAGKGROUND AND ARGUMENT

I begun working for NewQuest Management on August 11,2014.1 was hired as a
Customer Service Representative. My job responsibilities consisted of answering
inbound calls from members and providers to discuss members policy or provider claim.
Upon completing training in October 2014 ! was then placed on Juan Salas team.

From the very beginning Juan Salas, immediately, started attacking me in front of my
peers. He addressed me in a loud, harsh, demeaning, embarrassing tone. He told me            I


was stupid and needed retraining. ln November 2014 he called me into a private room
and begin to unwantedly touch, spit on me, and verbally attack me. He admits in
deposition he called me in this office and no one accompany us ( Dep pg 8, 14.) Case
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law establishing adverse employment actions Brewer v. Miller Brewing Co.
5:93CV01600 ( N.D.N.Y. ) ln this case, 97 former employees harmed by coworker
racial harassment shared a $2.7 million settlement.

During this time no one was directly over Juan Salas so he was in charge. I later
learned his manager name was Claudia Vasquez and she was located in Texas. I
obtained her number and proceed to contact her and inform her of what has been going
on.

I tell her Juan Salas calls me into these private rooms and I feel violated due to him
unwantedly touching and spitting on me. I tell her I do not understand why he treats me
like this, why he feels im stupid, or why he harassess me. I tell her the reason he has
given me for these meetings is to discuss my monthly scorecards, which details if im
meeting company standards. I tell her, the grade he's giving me is high 80's and she
then informs me that a score like that doesn't warrant a private meeting and that she
would talk to him. Case law establishing adverse employment actions Dowdellv. Ona
Corp- U.S. District Court of Alabama. n this case, 142 former black employees harmed
by coworker racial harassment shared a $2.5 million settlement.



 After talking to Claudia Vasquez, Juan Salas begin to retaliate. He would on a daily
 basis start laughing, sigh loudly, make inappropriate jokes, or comments to imply I was
 stupid. Case law establishing adverse employment actions Edwards v. City of Houston        -
 U.S. Disfrict Court for the Southern District of Texas and the U.S. Court of Appeals for
 the Fifth Circuit. Ihis case was seff/ed in 1993, but interuenors came into the case and
 fought the settlement for about ten years. The class action settlement provided 106
 remedial promotions to African-American police officers harmed by discriminatory
promotional fesfs. The case u/as so hard-fought that lt had five oral arguments in the
 Fifth Circuit Court of Appeals. One of the arguments was en banc, meaning all 17
judges participated in the hearing and decision.



On April 9,2015. Juan Salas yelled on the floor in front of my peers demanding to know
where I been. I quietly stated I was in the restroom and Juan Salas begin to attack me
again and told me I better hold it in next time, and wait until im off from work. When he
was done harassing me he walked through the call center speaking to himself replaying
what just happen. Now everyone knows I was in the restroom for 15 minutes. I notify
Claudia Vasquez again (Exhibit 1) and on 411312015, she switched my supervisor and !
began reporting to Francine Dower. Juan Salas agreed to communicate to me through
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Claudia Vasquez until the matter was resolved. Case law establishing adverse
employment actions Prince v. Electrolux Home Products, lnc., No. 13-cv-02316, mem.
Op. (D. Minn., Beb. 14, 2014). ln this case the court found sufficient pleadings for both
the MOSHA claim and the state-law restroom breaks claim.



Starting in July 2015,1 realized my peers directly near me was only taking member calls
and I was the only one taking provider calls. Member calls were typically shorter and
less challenging and they were sparingly. Where as provider calls were more lengthier,
require additional skill set and has a more consistent stream of calls. Case law
establishing adverse employment actions S/edge v. J.P. Sfeyens and Co U.S. District
Court for the Eastern District of North Carolina and the U.S. Court of Appeals for the
Fourth Circuit. ln this case about 2,900 c/ass members shared a $20 million settlement
of their claims of racial discrimination in hiring and job assignments at plants and offices
in Roanoke Rapids, North Carolina.



Also in July 2015, I learned NewQuest provided bonuses to its Hispanics employees on
the members team but did not issue bonuses to myself or other African American
employees on the provider team. (Exhibit 9) Federal law establishing adverse
employment action is The right of employees fo be free from discrimination in their
compensation is protected under severalfederal laws, including the following enforced
by the U.S. Equal Employment Opportunity Commission: the Equal Pay Act of 1963,
Title Vll of the Civil Rights Act of 1964. the Age Discrimination in Employment Act of
 1967. and Title I of the Americans with Disabilities Act of 1990. The law against
compensation discrimination includes all payments made to or on behalf employees as
remuneration for employment. All forms of compensation are covered, including salary,
overlime pay, bonuses, sfock options, profit sharing and bonus plans, life insurance,
vacation and holiday pay, cleaning or gasoline allowances, hotel accommodations,
reimbursement for travel expenses, and benefits.


ln September 2015, I interviewed for a Senior Analyst position. My interviewer was Juan
Salas and Francine Dower. I couldn't understand why Juan Salas was able to interview
me for this because our matter had not resolved and he agreed to not communicate
with me without going through Claudia Vasquez first. Now Juan Salas had emails
directly from me informing him of being racist to me. and he was also made aware
when Claudia Vasquez spoke with him. (Exhibit 1) During this interview Juan Salas
implied I was stupid again and other peers had higher scores than l,and was likely more
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suitable for the position. At the end of the interview. I hear Juan Salas tell Francine
Dower "you know y'all people" and they began to laugh. I never received the promotion.
And shortly aftenruards I noticed Juan Salas was demoted to the Senior Analyst. Case
Law establishing adverse employment action Lewis v. Bloomsburg Mills - U.S. District
Court for the District of South Carolina, and the U.S. Court of Appeals for the Fourth
Circuit. The U.S. Court of Appeals for the Fourth Circuit held that there was racial
discrimination against black applicants at a South Carolina textile mill, and sent the
promotion issues back to the trial court for a new look. The case was eventually settled.



!n November 2015, Luis Potelo, Director of customer service comes into town to meet
with myself and Juan Salas. He ask what has been going on and I share with him. He
then tells me "He knows Juan Salas and he's not racist, that its in my head" He
dismisses me and leaves out his office takes a seat next to my cubicle and begin to
intimidate and humiliate me and only me in front of my peers. Asking me to explain the
call when the call was over. He does this every time he comes to town for days at a
time. He no longer takes an office when he visits, he grabs a seat near me. One day as
he was leaving my back was turned to him. He placed his hand on my shoulder and
leaned in and told me he was leaving but will return. I felt violated again for touching me
after I explained I didn't like touching and not to mention threaten. Case law establishing
adverse employment action Kohne v. lmco Container Company - U.S. Disfrict Court for
the Western District of Virginia. This was a small sex discrimination c/ass action for
women working at a plastic bottle manufacturing and decorating plant in Harrisonburg,
Virginia. The court found that the company had discriminated against women in initial
 assignments and in promotions. The case was settled in 1981 for $210,000 in back pay
and interest, and changes in company practices.


On November 16, 2015,1 learned Newquest paid its Hispanic employee Melissa
Anderson $4,000 (Exhibit 12) more than African Americans doing the same job. Myself
and other African Americans were told by Juan Salas during the interview that we could
not negotiate our salary, regardless of our experience. Federal Law establishing
adverse employment action ie The right of employees fo be free from discrimination in
their compensation is protected under severalfederal laws, including the following
enforced by the U.S. Equal Employment Opportunity Commission; the Equal Pay Act of
 1963. Title Vll of the Civil Rights Act of 1964, the Age Discrimination in Employment
Act of 1967, and Title I of the Americans with Disabilities Act of 1990.
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Between Christmas and New Years 2015 another department director Cyanne
Demchak sent an email (Exhibit 20) informing everyone the office was closing at 2 p.m.
Luis Potelo sends an email right afterwards informing customer service department that
we must remain open. He stated that were under different guidelines and we must take
calls.


However, when Cyanne Demchak sent the email stating office was closing Luis Potelo
instructed workforce manager Keith Newell to send all the Hispanic peers home at that
time.(Exhibit 20) When 2 p.m.came everyone was gone except myself and two other
African Americans sitting next to me. Along with Neida Zavala who was acting
supervisor and Keith Newell workforce manager. ! noticed that they turned the lights out
on us, and I see the janitor sweeping up. I request to go home and no one listen. I also
notice that the work from home peers had logged out of the chats and no one else was
working but us. After hours I was then allowed to go home. Case Law establishing
adverse employment actions again S/edge v. J.P. Sfevens & Co. - IJ.S. District Court
for the Eastern District of North Carolina and the U.S. Court of Appeals for the Fourth
Circuit.


On February 24, 2016, Chicago has experienced continued snoMall. Roads were
dangerous and all over the news was stating avoid going out. I take the day off along
with four other peers because Newquest has work from home employees put in place
for situations like this. I return to work the next day to receive a occurrence for taking
that weather day off and learned that Newquest had allowed employees to leave early
the same day for the same reason with no occurrences. Federal law that establishes
adverse employment action ie Title Vll of the Civil Rights Act of 1964.The law's
prohibition against retaliation isiusf as importanf as its prohibition against
discrimination. Retaliation is the most frequently alleged basis of discrimination in the
federal secfor and the mosf common discrimination finding in federalsecfor cases. Ihe
EEO laws prohibit punishing job applicants or employees for asse rting their rights to be
free from employment discrimination including harassment. Asserting fhese EEO rights
is called "protected activity," and it can take many forms.



Finally, in February 2016,1 requested every Monday off in the month of March to see
my neurologist for my daily work-related stress headaches. I was approved. However,
when I took the first Monday off I was label a no call, no show, and was told I was being
let go. (Exhibit 2,11) I immediately notified HR and they confirmed I had the time
approved. I notify Francine Dower and Susan Brown that they made a mistake and
shortly afterwards all my time was previously granted was then taken back. I suffered in
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that moment a panic attack in addition to an asthma attack. Due to health scares and
being told that I was being fired I submitted my resignation letter. Federal law
establishing adverse employment action ie Title Vll of the Civil Rights Act of 1964,The
law's prohibition against retaliation isiusf as importanf as its prohibition against
discrimination. Retaliation is the most frequently alleged basis of discrimination in the
federalsecfor and the mosf common discrimination finding in federalsecfor cases. Ihe
EEO laws prohibit punishing employees for asserting their rights to be free from
employment discrimination including harassment. Asserting fhese EEO rights is called
"protected activity," and it can take many forms. ,




LEGAL STANDARD

Summary judgment is appropriate only if the moving party is entitled to judgment as a
matter of law. CR 56(c). Defendants argue they are entitled to summary judgment here
because they claim I cannot show evidence of adverse employment action. But a hostile
work environment exists in violation of Title Vll where the workplace is permeated with
discriminatory intimidation, harassment, physical assault, ridicule, retaliation, and insult
that is sufficiently severe or pervasive to alter the conditions of my employment and
create an abusive working environment. Hanis v. Forklift Sys., lnc., 510 U.S. 17, 20
(1ees).

The burden is on the moving party to demonstrate the absence of any material factual
issue genuinely in dispute. ln determining summary judgment is whether a genuine
issue of fact exists, the court must view all facts in the light most favorable to the
non-moving party." JudicialWatch, lnc. v. Consumer Financial Protection Bureau, 985
F. Supp. 2d 1, 6 (D.D.C 2013)

"The evidence of the non -movant is to be believed, and alljustifiable inferences are to
be drawn in his or her favor" Liberty Lobby, lnc., 477 U.S. at 255.

This is equally true here, as all underlying facts and inferences are displayed in the light
most favorable to the requester.
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CONCLUSION

FOR THE ABOVE STATED REASONS, a genuine issue of material fact remains in the
above-captioned matter. WHEREFORE, Plaintiff respectfully requests this Court deny
the opposing party's Motion for Summary Judgment in its entirety.



DATED this             day of                       ,20




                                                          Respectfu Iy
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                                                             Tanika Beaulieu
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